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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

 COLTON LEEKLEY-WINSLOW,                          Case No. 19-CV-0587 (SRN/KMM)

                      Plaintiff,

 v.
                                                                ORDER
 FAIRVIEW HEALTH SERVICES, ET
 AL.

                      Defendants.


       This matter is before the Court under its responsibility for case management. On

June 12, 2020, the Court entered an Order staying this case for a period of 30 days in

response to defense counsel’s letter indicating that Mr. Leekley-Winslow had passed

away. The Court’s stay order instructed defense counsel to take steps to serve a formal

notice of suggestion of death on Mr. Leekley-Winslow’s next-of-kin. On June 25, 2020,

defense counsel filed a formal suggestion of death, which was served on Mr. Leekley-

Winslow’s next-of-kin on June 25, 2020. Under Rule 25 of the Federal Rules of Civil

Procedure, a “decedent’s successors or representatives” may make a motion to substitute

as the proper party when a party dies while the action is pending and the claim is not

extinguished. Fed. R. Civ. P. 25(a)(1). Such a motion must be made “within 90 days after

service of a statement noting the death,” and if not, “the action must be dismissed.” Id.

       On Wednesday, September 23, 2020, 90 days will have passed since defense

counsel served the notice of suggestion of death on Mr. Leekley-Winslow’s next-of-kin.

If a motion to substitute is not served and filed within that time by Mr. Leekley-
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Winslow’s successors or representatives, this action will have to be dismissed pursuant to

Rule 25. Accordingly, the Court will continue the stay imposed on June 12th through

September 23, 2020, or until a motion to substitute is filed, whichever is earlier.

       IT IS SO ORDERED.

 Dated: July 17, 2020                             /s/ Katherine M. Menendez
                                                  Katherine M. Menendez
                                                  United States Magistrate Judge




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